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IN THE UNITED sTATEs DISTRICT CoURT Fn.Eb sr %,._ o.c.
FoR THE WESTERN DISTRICT or TENNEssEE
WEsTERN orvlsroN 05 JUL 22 AH 9= h l
GoRDoN NEWsoME,
GAVIN NEWSOME,

 

CHARlS SA NEWSOME, Minors
by HAZEL D. THOMPSON, Guardian
and Next Friend,
Plaintiff,
v. No. 04-2752 B

PRIMERICA LIFE INSURANCE COMPANY
and STEVE A. STOKES,

Defendants.

 

ORDER DIRECTING CLERK OF COURT TO FORWARD ORDER
TO B_Q §§ PLAINTIFF AND ORDERING PLAINTIFF TO ADVISE
THE COURT OF SUBSTITUTE COUNSEL AND
TO RESPOND TO PENDING MOTION TO DISMISS

 

ln an order entered on the Court's docket on May 9, 2005, the magistrate judge granted the
motion of Max Ostrow to withdraw as counsel for the Plaintiff, Hazel Thompson. As it has come
to the Court's attention that this order was never mailed to the Plaintiff, the Clerk of Court is hereby
directed to forward a copy thereof (Doc. No. 12) to the Plaintiff at the following address: Hazel
Thompson, 4020 Pattye Ann, Memphis, Tennessee 38116.

ln his motion to withdraw, Ostrow indicated that he had notified the Plaintiff of a conflict
of interest involving his representation of Defendant Steve A. Stokes and his wife in other matters
and had advised her that "she should seek other counsel to represent her in this matter." (Mot. to
Withdraw as Counsel of Record at l.) On June l4, 2005, the Defendant Stokes filed a motion to

dismiss the complaint pursuant to Rule lZ(b)(6) of the Federal Rules of Civil Procedure, bearing a

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certificate of service reflecting that a copy of the motion was sent directly to Thompson.

Based upon the information before it, the Court assumes Thompson is aware Mr. Ostrow is
no longer acting as counsel in her behalf and that a dispositive motion remains pending in this case.
However, she has failed to respond to the motion, even though the time for such response has
expired, or to otherwise communicate with the Coult. Accordingly, in the interest of moving this
matter forward, the Plaintiff is hereby ORDERED, within fifteen (15) days of the entry hereof, to
advise the Court of the name and address of substitute counsel or of her decision to proceed pr_o _s_g
ln either case, the Plaintiff is further ORDERED to respond to the pending motion to dismiss Within
thirty (30) days of this order. Failure by the Plaintiff to timely comply with the Court's directives
herein may result in the dismissal of her lawsuit with prejudice, pursuant to Fed. R. Civ. P. 41(b).
The Clerk of Court is also DIRECTED to forward a copy of this order to Thompson at the address
set forth herein.

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rr rs so oRDEREr) this 21 day orJuly, 2005.

 

J A rEL BREEN \
IT sTATEs DIsTRrCTJUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02752 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

Thomas Lang Wiseman
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l\/lemphis7 TN 38016

Hazel D. Thompson
4020 Pattye Ann Dr.
l\/lemphis7 TN 38116

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

